
ATTORNEY DISCIPLINARY PROCEEDINGS
PER CURIAM.
The ■ Office of Disciplinary Counsel (“ODC”) commenced an investigation into allegations that respondent failed to promptly refund an unearned fee. After the filing of formal charges, respondent and the ODC submitted a joint petition for consent discipline, in which they stipulate that respondent’s conduct violated Rules 1.3 (failure to act with reasonable diligence and promptness in representing a client), 1.4 (failure to communicate with a client), 1.5(f)(6) (failure to refund an unearned fee), and 1.16 (obligations upon termination of the representation) of the Rules of Professional Conduct. Having reviewed the petition for consent discipline,
IT IS ORDERED that Margrett Ford, Louisiana Bar Roll number 5690, be and he hereby is suspended from the practice of law for one year and one day. It is *288further ordered that the suspension shall be deferred, subject to respondent’s successful completion of a two-year period of supervised probation governed by the conditions set forth in the petition for consent discipline. Any violation of the conditions of probation, or any other misconduct during the probationary period, may be grounds for making the deferred suspension executory, or imposing additional discipline, as appropriate.
IT IS FURTHER ORDERED that all costs and expenses in the matter are assessed against respondent in accordance with Supreme Court Rule XIX, § 10.1, with legal interest to commence thirty days from the date of finality of this court’s judgment until paid.
